Case 6:18-cv-00064-RBD-GJK Document 80 Filed 12/12/18 Page 1 of 3 PageID 1590




                       UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

PROXICOM WIRELESS, LLC,

       Plaintiff,

v.                                                           Case No: 6:18-cv-64-Orl-37GJK

MACY’S, INC. and MACY’S FLORIDA
STORES, LLC,

       Defendants.




                                          ORDER
       This cause came on for consideration on oral argument on the following motion on

December 11, 2018:

       MOTION:        DEFENDANTS MACY’S, INC. AND MACY’S FLORIDA
                      STORES, LLC’S MOTION TO COMPEL THE
                      DEPOSITION OF JAMES A. PROCTOR, JR. (Doc. No. 68)

       FILED:         December 3, 2018



       THEREON it is ORDERED that the motion is DENIED.

       Plaintiff brings this action for patent infringement against Defendants, alleging that they

use Plaintiff’s patented technology in their stores, which directly and indirectly infringes on

Plaintiff’s patents. Doc. No. 1. On December 3, 2018, Defendants filed a motion to compel James

A. Proctor, Jr. (“Proctor”) to be produced for a deposition (the “Motion”). Doc. No. 68. On

November 1, 2018, Defendants served a Federal Rule of Civil Procedure 30(b)(1) notice of

deposition setting Proctor’s deposition for November 27, 2018. Doc. No. 68-3. On November 21,

2018, pursuant to Plaintiff’s request, Defendants agreed to move the deposition to December 19,
Case 6:18-cv-00064-RBD-GJK Document 80 Filed 12/12/18 Page 2 of 3 PageID 1591



2018. Doc. No. 68-4 at 2. Defendants state that Plaintiff now refuses to produce Proctor for the

deposition unless Defendants also notice him for a Rule 30(b)(6) deposition on that same date and

conduct the Rule 30(b)(1) and Rule 30(b)(6) depositions simultaneously. Doc. No. 68 at 3.

Defendants ask that the Court “issue an order (1) compelling Mr. Proctor to sit for deposition under

Federal Rule of Civil Procedure 30(b)(1); and (2) for an award of expenses incurred by

[Defendants] in bringing this motion, including attorney fees.” Id. at 10.

        The Court’s handbook on civil discovery provides that if a party is unable to coordinate

the scheduling of a deposition with the opposition, the party may unilaterally notice that deposition

upon fourteen days’ notice. Middle District Discovery (2015) at 6; Local Rule 3.02; see also Fed.

R. Civ. P. 30(a)(1) (“A party may, by oral questions, depose any person, including a party, without

leave of court except as provided in Rule 30(a)(2). The deponent’s attendance may be compelled

by subpoena under Rule 45.”). Defendants did not issue an amended notice of taking Proctor’s

deposition for December 19, 2018. Thus, there is nothing for the Court to compel. 1 For the reasons

stated in Court, the Court finds that neither party’s position regarding the Motion is substantially

justified, and, therefore, no fees are awarded.

        The Court is concerned about the difficulties counsel for the parties appear to be having

regarding routine discovery, such as coordinating depositions and timely providing proper

(verified) answers to interrogatories. It also appears the parties may be setting themselves up for

conflicts regarding Rule 30(b)(6) depositions.

        Accordingly, it is ORDERED as follows:

        1. The Motion (Doc. No. 68) is DENIED;




1
 At the hearing, the parties represented that Proctor will appear for his Rule 30(b)(1) deposition on December 20,
2018, but stated that a time for the deposition to begin has not yet been set. Doc. No. 79.

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Case 6:18-cv-00064-RBD-GJK Document 80 Filed 12/12/18 Page 3 of 3 PageID 1592



       2. On or before 5:00 p.m., Eastern Time, December 12, 2018, Defendants shall serve an

           amended notice of deposition for Proctor;

       3. The parties shall provide notice of all areas of inquiry for Rule 30(b)(6) depositions in

           writing no less than three weeks before the date of the deposition; and

       4. On or before December 18, 2018, Plaintiff shall serve verified responses to the

           interrogatories to which it previously provided unverified responses.

       DONE and ORDERED in Orlando, Florida, on December 12, 2018.




Copies furnished to:

Counsel of Record
Unrepresented Parties




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